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             US Bankruptcy Court for the District of Delaware


               In re:                                                    Chapter 11

                          FTX Trading Ltd., et. al.                      No. 22-11068 JTD

                                         Debtors                         (Jointly Administered)


                                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

             A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
             Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of
             Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this
             evidence and notice.

              Name of Transferor:                                      Name of Transferee:

              Name (Redacted)                                          Figure Markets, Inc.

              Name and Current Address of                              Name and Address where notices and payments
              Transferor:                                              to transferee should be sent:
              Name (Redacted)                                          Figure Markets, Inc.
                                                                       Dan Grueter
                                                                       650 California Street
                                                                       Suite 2700
                                                                       San Francisco, CA 94108


           Claim No./Schedule             Creditor Name            Amount                   Debtor           Case No.
              Schedule No.               Name (Redacted)     Unliquidated (stated in    FTX Trading Ltd.   22-11068 JTD
            221106806851404                                         crypto)

           Customer Code No.             Name (Redacted)        As described on         FTX Trading Ltd.   22-11068 JTD
               00205415                                           Schedule F




             I declare under penalty of perjury that the information provided in this notice is true and correct
             to the best of my knowledge and belief.


             By: _____________________                                                 Date: 7/29/2024
             Transferee/Transferee’s Agent
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                                                        Identity of Transferor


             Transferee has in its possession an Evidence of Transfer signed by the Transferor.

             In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s
             name or address, and has not attached the signed Evidence of Transfer to this notice of Transfer
             of Claim.

             Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
             Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.
